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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION


      IN RE: AQUEOUS FILM-                               MDL No. 2:18-mn-2873-RMG
      FORMING FOAMS PRODUCTS
      LIABILITY LITIGATION                       CASE MANAGEMENT ORDER NO. 19-C
                                                   This Document Relates to All Actions

   Third Amended Scheduling Order Governing First Water Provider Bellwether Trial

       This CMO 19-C amends the schedule set forth in CMO 19 for the Water Provider

Bellwether Trial Pool cases. Specifically, this CMO 19-C allows for some additional time for Tier

Two fact discovery and amends certain remaining deadlines accordingly. The resulting schedule

is as follows:

       1. Expert disclosures: Plaintiff shall submit its expert disclosures by March 18, 2022.
          Defendants shall submit their expert disclosures by April 29, 2022. Rebuttal expert
          reports shall be submitted by May 13, 2022.

       2. Expert discovery: The parties shall complete expert depositions by July 28, 2022.

       3. Summary judgment and Daubert motions: The parties shall file motions for summary
          judgment and Daubert motions by August 15, 2022. Response in opposition briefs
          shall be filed by September 12, 2022. Reply in support briefs shall be filed by
          September 27, 2022.

       4. Recommendation of first bellwether case for trial: The parties shall file their
          recommendation, with supporting memoranda, of the first bellwether case for trial by
          October 14, 2022.

       5. Designation of first bellwether case for trial: The Court will designate the first
          bellwether case for trial by December 2, 2022.

       6. Pretrial motions: The parties shall file pretrial motions and motions in limine by
          January 9, 2023. Response in opposition briefs shall be filed by January 16, 2023.

       7. Pretrial disclosures: The parties shall file and exchange Fed. R. Civ. P. 26(a)(3)
          pretrial disclosures twenty-one (21) days prior to the date of jury selection. Within
          fourteen (14) days thereafter, a party shall file and exchange Rule 26(a)(3) objections,
          any objections of a deposition designation by another party, and any deposition
          counter-designations, pursuant to Rule 32(a)(4).
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       8. Pretrial briefs: The parties shall furnish the Court with and serve their pretrial briefs
          ten (10) business days prior to the date of jury selection (Local Civil Rule 26.05). At
          least five (5) business days prior to this deadline to submit pretrial briefs, counsel
          shall meet to exchange and mark all exhibits (Local Civil Rule 26.07).

       9. Trial: This case is subject to being called for jury selection and/or trial on or after
          March 1, 2023.

       AND IT IS SO ORDERED.
                                                                      s/ Richard Mark Gergel
                                                                      Richard Mark Gergel
                                                                      United States District Judge

May 5, 2022
Charleston, South Carolina
